Case 21-11484-mdc                 Doc 54    Filed 09/08/21 Entered 09/08/21 13:52:08       Desc Main
                                            Document     Page 1 of 2



                              UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF PENNSYLVANIA

In re:                                                   : Chapter 7
                Jennifer Joyce,                          :
                                  Debtor.                : Bankruptcy No. 21-11484-MDC


                                                ORDER
           AND NOW, WHEREAS, on August 11, 2021, Jennifer Joyce (the “Debtor”) caused to

be filed a pro se reaffirmation agreement with creditor Lakeview Loan Servicing, LLC (the

“Reaffirmation Agreement”). 1

           AND, no attorney declaration or affidavit has been filed as required by to 11 U.S.C.

§524(c)(3).

           It is hereby ORDERED and DETERMINED that:

           1.        Pursuant to §524(d), a hearing shall be held on September 29, 2021, at 10:30

a.m., in Bankruptcy Courtroom No. 2, U.S. Bankruptcy Court, 900 Market Street,

Philadelphia, Pennsylvania, to inform the Debtor (i) that the reaffirmation agreement is not

required under this title, under nonbankruptcy law, or any agreement not made in accordance

with the provisions of §524(c); and (ii) of the legal effect and consequences of the proposed

reaffirmation agreement and a default under the proposed reaffirmation agreement (the “§524(d)

Hearing”). **PLEASE NOTE ALL HEARINGS ARE CONDUCTED BY TELEPHONE --

877-336-1828 Access Code 7855846.

           2.        Pursuant to §524(c)(6) and at the §524(d) Hearing, the Court shall determine

whether the Reaffirmation Agreement (i) does not impose an undue hardship on the Debtor or a

dependent of the debtor; and (ii) is in the Debtor’s best interest.

1
    Bankr. Docket No. 42.
Case 21-11484-mdc        Doc 54   Filed 09/08/21 Entered 09/08/21 13:52:08         Desc Main
                                  Document     Page 2 of 2



       3.     Pending the conclusion of the §524(d) Hearing, the discharge order under 11

U.S.C. §727(a) shall not be entered. See Fed. R. Bankr. P. 4004(c)(1)(K).


Dated: September 8, 2021
                                                   MAGDELINE D. COLEMAN
                                                   CHIEF U.S. BANKRUPTCY JUDGE

Jennifer Joyce
1501 Denise Circle
Phoenixville, PA 19460

Robert W. Seitzer, Esquire
Karalis PC
1900 Spruce Street
Philadelphia, PA 19103

Christine C. Shubert, Esquire
821 Wesley Avenue
Ocean City, NJ 08226

Martin A. Mooney, Esquire
Schiller, Knapp, Lefkowitz & Hertzel LLP
15 Cornell Road
Latham, NY 12110

United States Trustee
Custom House
200 Chestnut Street, Suite 502
Philadelphia, PA 19106-2912




                                               2
